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                 IN THE UNITED STATES DISTRICT COURT FOR
                     THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )          CASE NO. 2:09-cr-31-MEF
                                            )                     (WO)
SYLVESTER VAUGHN                            )

                                     ORDER

      Upon consideration of the government's Response to Defendant Vaughn's Motion to

Sever Defendant (Doc. #97) filed on October 1, 2009, it is hereby

      ORDERED that the defendant shall file a reply to the government's Response on or

before October 22, 2009.

      DONE this the 15th day of October, 2009.




                                                 /s/ Mark E. Fuller
                                         CHIEF UNITED STATES DISTRICT JUDGE
